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                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF NEW YORK

                                         )
                                         )
DAVID PERRY,                             ) Case No.:
                                         )
             Plaintiff.                  ) 1:21-cv-00369-DNH-DJS
                                         )
      v.                                 )
                                         )
VEHICLE PROTECTION                       )
SPECIALISTS et al,                       )
                                         )
                Defendant.               )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within thirty (30) days.



Dated: May 20, 2021                    By: /s/ Craig T. Kimmel
                                         Craig T. Kimmel, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Ave
                                         Ambler, PA 19002
                                         Phone: (215) 540-8888
                                         Fax: (877) 788-2864
                                         Email: teamkimmel@creditlaw.com
      Case 1:21-cv-00369-DNH-DJS Document 7 Filed 05/20/21 Page 2 of 2




                         CERTIFICATE OF SERVICE

             I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via electronic mail:

Christopher Meier
Greenspoon Marder Law
100 W Cypress Creek Road
Suite 700
Fort Lauderdale FL 33309
Phone: (954) 491-1120
Fax: (954) 213-0073
Email: Christopher.Meier@gmlaw.com
Attorney for Defendant




Dated: May 20, 2021                  By: /s/ Craig T. Kimmel
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